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                           24-7157
                                UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT


              EPOCH EVERLASTING PLAY, LLC and AMAZON.COM SERVICES LLC

                                                                         Defendants-Appellants.

                                                   Against

              WILLIENE JACKSON-JONES et al.,

                                                                               Plaintiff-Appellee,


                                Appeal from the United States District Court
                                   For the Central District of California
                                           2:23-cv-02567-ODW
                                          Hon. Otis D. Wright, II

                MOTION OF ANITA MEDAL, ESTHER YOO, GAYLE HAYES AND
              ANTOINETTE STANIEWICZ FOR LEAVE TO FILE A BRIEF AS AMICI
              CURIAE IN SUPPORT OF PLAINTIFF-APPELLEE AND IN SUPPORT OF
                          AFFIRMANCE OF THE DECISION BELOW

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               March 14, 2025
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                                                  INTRODUCTION

                        Proposed Amici Curiae move pursuant to Federal Rule of Appellate

              Procedure 29(a)(2), for an order granting permission to file an amicus curiae brief

              in this matter. Proposed Amici are current or proposed plaintiffs in an action entitled

              Li v. Amazon.com Services, LLC, No. 2:23-cv-01975-JHC, pending in the Western

              District of Washington. In that action Amici allege that Amazon promotes and sells

              products designated as dietary supplements in violation of the Federal Food, Drug,

              and Cosmetics Act, and which are inherently unlawful and banned from interstate

              commerce under both federal and California law.

                        Plaintiff-Appellee consents to the filing of this brief and Defendants-

              Appellants take no position with regard to Amici’s motion at this time.

              I.        This Appeal Implicates Amici’s Interests.

                        Amici, like plaintiff in this action, are seeking relief on behalf of themselves

              and similarly-situated individuals for monetary and injunctive relief because of

              damages they suffered from buying illegal products, specifically banned and

              inherently illegal, unapproved drug products. They seek to file an amicus brief to

              address a specific argument Appellants made in the district court and again on

              appeal. Specifically, Appellants challenge the holding of the district court in this

              action to the effect that a plaintiff may pursue a damages model based upon a full

              refund of the purchase price if the product sold by the defendant is illegal. This issue



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              is central to Amici’s action, which also seeks to require Amazon to return to each

              member of the proposed class the purchase price of the banned and illegal products

              sold as dietary supplements. Amici claim that, because the products are banned and

              illegal, a full refund should be provided to each member of the class who purchased

              them.

              II.       Amici’s Brief Will Aid the Court with Regard to the Issue of Whether a
                        Full Refund is Appropriate Under Applicable California Law.

                        Amici’s brief addresses Appellants’ argument that a full refund damages

              model is not appropriate, even for a banned product or substance, because that

              product has a “residual value” based upon the simple fact that the children who use

              the toy at issue here enjoyed using, and used, the product. Amici will show that such

              a claim is inconsistent with well-established California law which holds that illegal

              products have no inherent value.

                                                  CONCLUSION

                        For the foregoing reasons proposed Amici respectfully request that their

              motion to file their amicus curiae brief herein be granted.

              Dated: March 14, 2025                       Respectfully submitted,

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                                        CERTIFICATE OF COMPLIANCE

                        Pursuant to Federal Rules of Appellate Procedure 29(a)(4) and 32(g)(1) and

              Circuit Rule 32-1(e), I hereby certify that the foregoing document complies with the

              type-volume limitations of Federal Rule of Appellate Procedure 29(a)(5) and Circuit

              Rule 32-1(a). According to the word-count feature of Microsoft Word, the word-

              processing system used to prepare the document, the document contains 396 words,

              excluding the items that may be excluded under Federal Rule of Appellate Procedure

              32(f).

                        I further certify that the foregoing brief complies with the typeface and type-

              style requirements of Federal Rule of Appellate Procedure 32(a)(5) and (6) because

              it has been prepared in 14-point Times New Roman font, a proportionally spaced

              typeface.


              Dated: March 14, 2025                            /s/ George F. Carpinello          .




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                                           CERTIFICATE OF SERVICE

                        I hereby certify that on March 14, 2025, I electronically filed the foregoing

              document with the United States Court of Appeals for the Ninth Circuit by using the

              CM/ECF system.

                        I certify that all participants in the case are registered CM/ECF users, and that

              service will be accomplished by the appellate CM/ECF system.


              Dated: March 14, 2025                             /s/ George F. Carpinello         .




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